      Case 1:17-cv-00124-LLS              Document 59 Filed 05/28/19 Page 1 of 14
ORIGINAL
                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK

    FEDERAL TRADE COMMISSION and                       Case No. 1:17-cv-00124-LLS
    THE PEOPLE OF THE STATE OF NEW
    YORK, by LETITIA JAMES, Attorney
    General of the State of New York,
                          Plaintiffs,
                          V.
                                                       JOINT REPORT PURSUANT TO
    QUINCY BIOSCIENCE HOLDING                          FED. R. CIV. P. 26(f) AND
    COMPANY, INC., a corporation;                      mo:rg SIU) SCHEDULING ORDER
   · QUINCY BIOSCIENCE, LLC, a limited
     liability company;
    PREYAGEN, INC., a corporation
    d/b/a/ SUGAR RIVER SUPPLEMENTS;                              . '·tSDC &l)NY
    QUINCY BIOSCIENCE                                              DOCUMENT
    MANUFACTURING, LLC, a limited                                  ELECTR~NICALLY FILED
    liability company;
                                                                    ogc ~=-·~>:__~m-;;:-
    MARK UNDER WOOD, individually and as
    an officer of QUINCY BIOSCIENCE
                                                                    DATE FILED: ·     f?l),,,Sh5     I
    HOLDING COMPANY, INC., QUINCY
    BIOSCIENCE, LLC, and PREYAGEN,
    INC.; and
    MICHAEL BEAMAN, individually and as
    an officer of QUINCY BIOSCIENCE
    HOLDING COMPANY, INC., QUINCY
    BIOSCIENCE, LLC, and PREVAGEN,
    INC.
                          Defendants.


         Pursuant to Rule 26(f) of the Federal Rules of Civil Procedure and this Court's Order for

  Conference Pursuant to Rule 16(b) [Doc. No. 54], counsel for the above-captioned Plaintiffs and

  Defendants (collectively, the "Parties") met and conferred on May 17, 2019 and again on May

  23, 2019 by telephone regarding the matters addressed below. The Plaintiffs request that the

  Court allow Part (3) below to serve as the proposed discovery plan and as the required joint

  scheduling order.

                                                  1
          Case 1:17-cv-00124-LLS Document 59 Filed 05/28/19 Page 2 of 14


(1)    Date of Conference and Appearance for the Parties:

       a. Date and location of the conference: May 28, 2019 at 3 p.m. in Courtroom 21 C.

       b. For Plaintiff, Federal Trade Commission:

              Michelle Rusk

              Annette Soberats

       c. For Plaintiff, People of the State of New York by New York State Attorney General

          Letitia James:

              Kate Matuschak

       d. For Defendants, Quincy Bioscience Holding Company, Inc., Quincy Bioscience,

          LLC, Prevagen, Inc., d/b/a Sugar River Supplements, and Quincy Bioscience

          Manufacturing, LLC:

              Geoffrey W. Castello

              Glenn T. Graham

              Kelley Drye & Warren, LLP

       e. For Defendants, Michael Beaman and Mark Underwood (the "Individual

          Defendants"):

              Michael B. de Leeuw

              John B. Kelly

              Cozen O'Connor

(2)    Concise Statement of Issues:

Plaintiffs' Statement:

       Plaintiffs the Federal Trade Commission (FTC) and the People of the State of New York,

by the Attorney General of the State of New York (NYAG) brought this action to challenge


                                              2
           Case 1:17-cv-00124-LLS Document 59 Filed 05/28/19 Page 3 of 14


Defendants' conduct in connection with their marketing and sale of the dietary supplement

"Prevagen" for purported memory and other cognitive benefits. The FTC brought this action

under Section 13(b) of the Federal Trade Commission Act (FTC Act), 15 U.S.C. § 53(b), to

obtain permanent injunctive relief and equitable monetary relief, alleging that Defendants'

conduct was false and deceptive in violation of Sections 5(a) and 12 of the FTC Act, 15 U.S.C.

§§ 45(a) and 52. The NYAG charged that the same conduct constituted fraudulent or illegal acts

in violation of New York Executive Law§ 63 (12) as well as deceptive acts and false advertising

in violation of New York General Business Law§§ 349 and 350. Specifically, Plaintiffs contend

that Defendants' memory and cognition claims were false or unsubstantiated at the time they

were made. Defendants' primary support for their claims is a human clinical study (the

"Madison Memory Study") that failed to find any statistically significant benefit of Prevagen

compared to a placebo, either for the study population as a whole, or for any sub-group

population. In addition, Plaintiffs contend that Defendants' own testing disproves any plausible,

mechanism of action to support a theory that the sole active ingredient in Prevagen, the dietary

protein "apoaequorin," would have any effect on brain chemistry or brain function. As alleged

in the Complaint, that testing shows that the protein is rapidly digested in the stomach like any

other dietary protein and cannot reach or cross the blood brain barrier.

       The Complaint names four corporate defendants and two individual defendants.

Plaintiffs allege that the corporate defendants operated as a common enterprise while engaged in

the challenged practices and are thus jointly and severally liable. Plaintiffs further allege that the

individual defendants, President Mark Underwood and CEO Michael Beaman, were actively

involved in the companies' business affairs and making corporate policy, including the design

and conduct of the research on Prevagen' s efficacy and the creation and approval of the


                                                  3
           Case 1:17-cv-00124-LLS Document 59 Filed 05/28/19 Page 4 of 14



challenged advertising. The Complaint alleges that, by virtue of the control over, authority to

control, and active participation in that conduct, Underwood and Beaman are individually liable.

       At the time Plaintiffs filed the Complaint in January 2017, Defendants were making false

and deceptive claims in their extensive and ongoing national marketing campaign, through which

Defendants promoted the sale of Prevagen to consumers at national retail outlets and online

throughout the United States, including in New York, resulting in sales from 2007 through mid-

2015 totaling $165 million. Defendants continue to market and sell Prevagen nationwide, with

the alleged false and deceptive claims appearing in national television ads airing daily on

multiple networks. Plaintiffs seek permanent injunctive relief to halt and redress the challenged

marketing, as well as appropriate ancillary relief, including consumer refunds and disgorgement

of ill-gotten gains. In addition, Plaintiff NYAG seeks the award of civil penalties under state

law.

       Prior to and intermittently for a brief period after the filing of the Complaint, the Parties

engaged in settlement discussions. It is Plaintiffs' view that the Parties remain far apart and that

mediation is unlikely to be productive at this time.

       The issues in this case are: (I) whether the advertising, marketing, and labeling of

Prevagen conveyed the challenged claims about memory and other cognitive benefits; (2)

whether, at the time those claims were made, Defendants' failed to possess competent and

reliable scientific evidence substantiating those claims with the result that the claims are false

and deceptive in violation of FTC and New York law; (3) whether the corporate defendants

operated as a common enterprise and are thus jointly and severally liable; (4) whether individual

defendants Underwood and Beaman are individually liable; (5) the appropriate scope and nature

of permanent injunctive relief; (6) the appropriate amount of ancillary monetary relief, including


                                                  4
           Case 1:17-cv-00124-LLS Document 59 Filed 05/28/19 Page 5 of 14



consumer redress and disgorgement; and (7) the calculation of civil penalties under New York

law.

       Plaintiffs reassert their position - already fully briefed - that any arguments for dismissal

not previously addressed by this Court or by the Second Circuit are without merit. Specifically:

( 1) this Court has personal jurisdiction over'the individual defendants, as long as they had

minimum contacts with the country as a whole, under FTC Act Section 13(b)'s authorization of

nationwide service (15 U.S.C. § 53(b)) (and the Court also has personal jurisdiction under New

York CPLR § 302(1)(1)); (2) the Complaint sets out a detailed factual basis sufficient to show

that both Individual Defendants participated in, controlled, and either knew of or recklessly

disregarded the deceptive conduct; (3) the First Amendment provides no protection to any

advertising claims that the Court determines at trial to. be deceptive; and (4) under even the most

restrictive interpretations of FTC Law and common law, the FTC had a valid quorum when the

three sitting Commissioners voted to issue the Complaint (two "yes" votes and one "not

participating").

Defendants' Statement:

        Defendants dispute nearly all of Plaintiffs' factual assertions above and deny the material

allegations of the Complaint. As set forth in the motion to dismiss, Defendants state that all of

the advertising statements with respect to the dietary supplement Prevagen are fully substantiated

by competent and reliable scientific evidence including, but not limited to, the Madison Memory

Study. Defendants further state that all of the advertising for Prevagen complies with the FTC's

advertising guidance for dietary supplements and applicable law. Accordingly, Plaintiffs'

Complaint fails to state a claim for relief and should be dismissed because Defendants'




                                                  5
           Case 1:17-cv-00124-LLS Document 59 Filed 05/28/19 Page 6 of 14


statements about Prevagen's efficacy are true and fully substantiated. Defendants deny that

Plaintiffs are entitled to any of the relief they seek.

        In its September 28, 2017, Opinion and Order dismissing the complaint, the Court

reached only Quincy's argument that the Complaint failed to state a claim for violation of the

FTC Act pursuant to Fed. R. Civ. P. 12(b)(6). The Court declined to exercise supplemental

jurisdiction over the New York state law claims and concluded that, "[a]ll claims being

dismissed, there is no need to consider the defendants' remaining arguments, or the [Individual

Defendants'] motion denying jurisdiction." (Dkt. #45 at 13.) The Second Circuit reversed, and

expressly noted "that Defendants-Appellees have raised several grounds for affirmance that the

district court did not consider. We express no opinion on these arguments, and the district court

may consider them in the first instance on remand." (Dkt. #50 at 4.) Defendants submit that

these threshold issues should be decided by this Court based on the Motion to Dismiss briefing

prior to the parties engaging in any discovery. The Parties are willing to provide supplemental

briefing if the Court believes it would be helpful.

        Specifically, the Individual Defendants argued in their April 6, 2017 Motion to Dismiss

that they are not subject to personal jurisdiction in this Court. The Individual Defendants do not

have any relevant relationship to New York. And the FTC Act does not automatically allow for

personal jurisdiction simply because there is an allowance for nationwide service of process.

The Individual Defendants also moved to dismiss under Fed. R. Civ. P. 12(b)(6), arguing that the

Complaint does not adequately allege the Individual Defendants' involvement in the marketing

practices at issue. These issues have not yet been decided by this Court or by the Second Circuit.




                                                    6
              Case 1:17-cv-00124-LLS Document 59 Filed 05/28/19 Page 7 of 14


           Likewise, no court has ruled on the arguments in Quincy's Motion to Dismiss that this

action amounts to an unconstitutional restraint on commercial speech and that FTC lacked a

valid quorum to bring this action and thus it is ultra vires.

           Defendants submit that Plaintiffs' characterization of the prospect of settlement is

premature. On June 12, 2019, Quincy's counsel will meet with the Director of the FTC's Bureau

of Consumer Protection, Andrew Smith, as well as other FTC representatives, to discuss the

matter and present the company's settlement position.

(3)        Discovery Plan and Case Schedule:

Plaintiffs' Statement re Discovery Plan:

           The case is moderately complex. It involves two plaintiffs, four corporate defendants,

and two individual defendants and includes charges under both Federal and New York State

laws. The case will require significant discovery given the extensive, multi-platform advertising

and marketing campaign and the disputed-scientific evidence regarding Prevagen's efficacy and

purported mechanism of action. Plaintiffs intend to conduct discovery on subjects relevant to the

allegations in this action and the relief sought, including injunctive and equitable monetary relief,

as well as defenses raised in Defendants' Answer. For example, Plaintiffs will seek discovery on

the content and dissemination of the challenged advertising, labeling, and other marketing

materials; the planning, conduct, and analysis of data on which Defendants rely to substantiate

challenged claims; the extent of consumer injury; and the extent of profits Defendants obtained

as a result of the illegal conduct. Plaintiffs anticipate that discovery will include relevant third

parties.




                                                    7
           Case 1:17-cv-00124-LLS Document 59 Filed 05/28/19 Page 8 of 14



Defendants' Statement re Discovery Plan:

       Defendants will seek discovery concerning the allegations of the Complaint and

Defendants' defenses thereto, if the Complaint survives dismissal.

Joint Statement re Discovery Plan:

       The information set out below reflects all Parties' agreement as to discovery scheduling

and other aspects of the discovery plan, including the following:

       a. Fact Witness Depositions: The Parties agree that they are not in a position to identify

           all witnesses that they may seek to depose at this time, as Defendants have not yet

           filed an Answer and the parties have not yet exchanged initial disclosures. The

           Parties agree, therefore, that each party may seek to depose additional fact witnesses,

           other than those named below, prior to completion of fact discovery. At this time, the

           Parties do not anticipate exceeding ten ( 10) fact witness depositions total for Plaintiffs

           and ten (10) fact witness depositions total for Defendants. This does not include

           deposition of expert witnesses. If additional depositions are needed, the Parties will

           meet and confer on seeking leave from the Court through joint stipulation.

           Plaintiffs currently intend to seek the deposition of the following individuals and

           entities:

               1. Michael Beaman;

               2. Mark Underwood;

               3. Kenneth C. Lerner;

               4. Dakota Miller;

               5. Todd Olson;




                                                  8
   Case 1:17-cv-00124-LLS Document 59 Filed 05/28/19 Page 9 of 14



       6. A Rule 30(b)(6) witness from the Quincy corporate defendants on topics

           identified through discovery;

       7. A witness involved in the reanalysis of Defendants' Madison Memory Study

           by Georgetown Economic Services;

       8. One or more witnesses from third-party advertising or marketing firms on the

          topic of the creation of Defendants' television ads and marketing materials;

           and

       9. An individual witness or a Rule 30(b)(6) witness from the Food and Drug

           Administration on topics identified through discovery.

       Defendants currently intend to seek the deposition of the following individuals

       and entities:

       1. One or more Rule 30(b)(6) witness from the Federal Trade Commission on

       topics identified during discovery;

       2. One or more Rule 30(b)(6) witness from the Food and Drug Administration on

       topics identified during discovery and any communications between FTC and

       FDA regarding the subject matter of this action.

       3. One or more Rule 30(b)(6) witness from the New York Attorney General's

       Office on topics identified during discovery;

       4. Any fact witnesses identified by Plaintiffs during discovery; and

       5. Any and all persons identified by Plaintiffs and/or any third-parties identified

       during discovery.

b. Case Schedule: The Parties agree to complete fact discovery first, after which they

   will conduct expert discovery. Completing fact discovery first will establish the


                                           9
  Case 1:17-cv-00124-LLS Document 59 Filed 05/28/19 Page 10 of 14



   factual basis upon which the experts will then form their opinions as to whether the

   challenged claims are substantiated.

Plaintiffs' Proposed Case Schedule:

       1. Rule 26(f) Conference: The Parties held their Rule 26(f) conference on May

          17 and conferred again on May 23, 2019.

      2. Rule 26(a)(l) Disclosures: The Parties will exchange Initial Disclosures on

          June 12, 2019. The Parties will supplement those initial disclosures as

          warranted in a timely manner.

      3. E-discovery: The Parties anticipate that the claims and defenses will involve

          electronically stored information (ESI). The Parties continue to discuss topics

          related to e-discovery, including: production of ESI according to an agreed-

          upon protocol; litigation hold for electronically stored information (ESI) and

          hard copy material; costs of preservation and production; and any inadvertent

          production of privileged information. The parties will meet and confer on

          these topics by June 28, 2019.

      4. Production of Documents:

                  1.    Initial document requests by the Parties will be served on or before

                        July 15, 2019.

                  11.   Supplemental document requests will be served no later than

                        February 14, 2020.

    , 5. Written Discovery: Interrogatories and requests for admission by all Parties

          will be served no later than February 14, 2020. Plaintiffs request that there be

          no numerical limits on requests for admissions or, if the Court imposes a limit,


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Case 1:17-cv-00124-LLS Document 59 Filed 05/28/19 Page 11 of 14


           that the use of such requests not be required to authenticate the genuineness of

           described documents and that the Parties be directed to use good faith efforts

           to stipulate as to genuineness. Defendants request that requests for admission

           be limited to no more than one-hundred (100) in total. The parties agree that

           each side will not serve more than twenty-five (25) interrogatories in total.

       6. Fact Witness Depositions: All fact witness depositions will be completed by

           March 16, 2020.

       7. Fact Discovery Completed: All fact discovery will be completed by March 16,

           2020.

       8. Expert Reports and Depositions:

           1.    The Parties will exchange expert reports no later than April 30, 2020.

           11.   The Parties will exchange rebuttal expert reports no later than May 29,

                 2020.

           iii. The Parties will complete expert discovery, including expert depositions,

                 by June 30, 2020.

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           11.


                 motions are filed.




       10. Exchange of Pre-Trial Order Materials: The Parties will exchange pre-trial

           order materials no later than November 15, 2020.


                                          11
          Case 1:17-cv-00124-LLS Document 59 Filed 05/28/19 Page 12 of 14



               11. Pre-Trial Order and Trial Briefs: The Parties will submit a pre-trial order in a

                   form conforming with the Court's instructions together with trial briefs and

                   proposed findings of fact and conclusions of law no later than January 15,

                   2021.

               12. Final Pre-Trial Conference: A final pre-trial conference pursuant to Fed. R.

                   Civ. P. 16(e) will take place on - - - - - - - - - - - -

               13. Trial: Trial will commence on - - - - - - - - - - - -

       Plaintiffs believe that their proposed schedule is appropriate and in the interest of the

efficient administration of justice. Defendants' remaining grounds for dismissal are insufficient

bases to warrant delay of this action.

       Defendants' Proposed Case Schedule:




Second Circuit. Defendants respectfully request that discovery be stayed d ·

those motions. As note~, the remaining issues to be decided includ

personal jurisdiction over the lndividuai Defendants, (ii) w     er Plaintiffs adequately stated a

claim against the Individual Defendants; (iii) whet     this action amounts to an unconstitutional

restraint on commercial speech; and (iv) w       er the FTC lacked a valid quorum to bring this

action and thus is ultra vires. Defen    ts do not oppose the time intervals in Plaintiffs' proposed

schedule but believe that the     es should commence-if ever-from the time the Court rules on

                           r dismissal, with the Rule 26(a)(l) Disclosures and initial documents

                   within thirty (30) days of the Court's decision and all subsequent deadlines be




                                                 12
        Case 1:17-cv-00124-LLS Document 59 Filed 05/28/19 Page 13 of 14


(4)   Limitations on Discovery: The Parties are not proposing limitations on discovery at this

      time.

(5)   Disputed Discovery Issues: There are currently no disputed discovery issues.

(6)   Anticipated Expert Testimony:

      Subject to possible revision based on Defendants' answer and discovery, Plaintiffs

      currently anticipate calling upon experts in the following four fields: 1) memory,

      cognition and clinical study design related to those research fields; 2) statistical analysis

      of clinical research; 3) pharmacology and biochemistry; and 4) forensic accounting and

      monetary relief.

      Defendants anticipate calling upon experts in the fields identified by Plaintiffs and in any

      additional fields as may be identified in the course of discovery. Defendants also

      anticipate calling an expert in the field of administrative practice.

(7)   Anticipated Length of Trial: The Parties currently anticipate a ten-day trial. It is

      Plaintiffs' position that this matter should proceed as a bench trial because this case is

      fundamentally about equitable relief and Defendants are therefore not entitled to a jury

      trial. Defendants submit they are entitled to a jury trial.

(8)   This [Proposed] Scheduling Order may be altered or amended only on a showing of good

      cause not foreseeable at the time of the Parties' May 28, 2019 conference with the Court

      or when justice so requires. The Parties agree that within two weeks after Defendants file

      an Answer in this matter, the Parties may seek to amend the discovery dates and scope of

      this [Proposed] Scheduling Order to respond to issues raised in the Answer.




                                                13
           Case 1:17-cv-00124-LLS Document 59 Filed 05/28/19 Page 14 of 14
                      _,,


Dated: May 24, 2019

FEDERAL TRADE COMMISSION                             PEOPLE OF THE STATE OF NEW YORK
                                                     BY LETITIA JAMES,
                                                     Attorney General of the State of New York

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    and Mark Underwood                                             and Mark Underwood

SO ORDERED


  t,tAAJ,      L.J~~
Hon. Louis L. Stanton
United States District Judge

Dated:

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